                           UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DIVISION
                                  NO. 5:09-CR-216-FL


UNITED STATES OF AMERICA            )
                                    )
            v.                      )
                                    )
HYSEN SHERIFI,                      )     DEFENDANTS
DYLAN BOYD,                         )     COMBINED JURY QUESTIONNAIRE
MOHAMMAD OMAR ALY HASSAN, )               AND VOIR DIRE
ZIYAD YAGHI,                        )
                                    )
            Defendants.             )
_________________________________________________________________________

        The defendants, Hysen Sherifi, Dylan Boyd, Mohammad Omar Aly Hassan and Ziyad

Yaghi, through counsel, submit the attached Defendants Combined Jury Questionnaire and Voir

Dire for use in this case.

                                          Respectfully submitted,

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                           UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF NORTH CAROLINA
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                                  NO. 5:09-CR-216-FL


UNITED STATES OF AMERICA            )
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            v.                      )
                                    )
HYSEN SHERIFI,                      )
DYLAN BOYD,                         )
MOHAMMAD OMAR ALY HASSAN, )
ZIYAD YAGHI,                        )
                                    )
            Defendants.             )
_________________________________________________________________________


                JURY QUESTIONNAIRE AND VOIR DIRE
General Instructions:

This questionnaire is designed to obtain information about your background as it is related to
your service as a juror in this case. Its use will substantially shorten the jury selection process.
The purpose of these questions is to determine whether prospective jurors can impartially decide
this case based upon the evidence presented at trial and the instructions on the law given by the
presiding judge. The questions are not intended to unnecessarily inquire into personal matters.
All information contained in this questionnaire will be kept confidential and under seal.

You are sworn to give true and complete answers and those answers will be available only to the
court and the parties in this case. The questionnaires belong to the court and all copies will be
returned to the court. You are instructed not to discuss this case or the questionnaire with anyone,
including your family and fellow jurors and members of the media.

Although some of the questions may appear to be of a personal nature, please understand that the
Court and the parties must learn enough information about each juror’s background and
experiences to select a fair and impartial jury. Your cooperation is of vital importance. Please
answer each question as fully and completely as possible. Your complete candor and honesty is
necessary so that both the prosecution and the defense will have a meaningful opportunity to
select an impartial jury.

You must answer all the questions, to the best of your ability. If you do not know the answer to a
question then write, “I don’t know.” It is important that the answers be yours alone. If you need
more space for your responses or wish to make further comments regarding any of your answers,
please use the Explanation Sheet at the end of the questionnaire. Put the number of the question
you are answering on the Explanation Sheet before you write the response or comment.



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Please keep in mind that there are no "right" or "wrong" answers, only complete and incomplete
answers. Complete answers are far more helpful than incomplete answers. Remember, you are
sworn to give true and complete answers to all questions. Unless the question states otherwise,
the fact that a particular question is asked does not imply that the subject matter of the question is
an issue in this case. As you read the questions, you are not to draw any inferences about the
issues which must be decided in this case. Please fill out the entire questionnaire. Do not leave
any questions blank. Do not write on the back of any page. PLEASE PRINT OR WRITE
LEGIBLY. You must sign the affirmation page.

                                    JUROR QUESTIONNAIRE

Personal Background

Juror’s Name: ________________________________________________________________

1.     Gender:         __________

2.     Age:            __________

3.     Place of Birth: ____________________

4.     What is your ethnic background?

       _____ White/Caucasian, not Hispanic
       _____ Black/African-American, not Hispanic
       _____ Hispanic/Latino
       _____ Asian or South Asian
       _____ American Indian or Native American
       _____ Other ___________________________________________
             (please specify)

5.     In what town, city, or county do you currently live? _____________________________

6.     Length of time at current address: ___________________

7.     How long have you lived in North Carolina? ________________

8.     If you have lived less than five years at your current address, indicate your prior town or
       community.
       ______________________________________________________________________




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9.    What is your current marital/domestic status? (Check all that apply.)

      _____ Single/never married    _____ Divorced
      _____ Married ___ years       _____ Divorced and remarried
      _____ Domestic partner        _____ Widowed
      _____ Separated               _____ Lives with others

10.   Do you have children or stepchildren? _____ Yes _____ No

      If yes, please give details of age and sex: _____________________________________
      ______________________________________________________________________

11.   Do you read, speak, write, and understand English?

      Yes _______
      With difficulty _______
      No _______

12.   What other languages do you speak, read or understand?
      ______________________________________________________________________

13.   Where were your parents born?

      Mother _____________________
      Father _____________________

14.   What is/was your father’s occupation?
      ______________________________________________________________________

15.   What is/was your mother’s occupation?
      ______________________________________________________________________

16.   Are you, your spouse (domestic partner), or a former spouse (domestic partner) parents,
      in-laws or grandparents naturalized U.S. Citizens?

      Yes _____ No _____

      If yes, please tell us who and when they became a citizen?
      ______________________________________________________________________




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17.   Do you speak, read or understand Arabic (or any dialect of Arabic) or did you grow up
      in households where that language or any of its dialects were spoken?

      Yes _____ No _____

      (a)    Do you read any Arabic language newspapers or publications?

             Yes _____ No _____

             If so, please list the Arabic language newspapers or publications:
             ________________________________________________________________

      (b)    Do you watch any Arabic language television programs, including newscasts?

             Yes _____ No _____

             If yes, please list these programs/newscasts. ____________________________
             ________________________________________________________________

      ( c)   If you speak, read or understand the Arabic language (or any of its dialects),
             would you have any difficulty relying solely upon the official interpreter's
             translation of testimony, and witnesses' translations of the evidence?

             Yes _____ No _____

18.   Do you speak, read or understand any other foreign language or did you grow up in a
      household where another foreign language was spoken?      Yes _____ No _____

      If yes, please list what foreign language(s):
      ______________________________________________________________________
      ______________________________________________________________________

      (a)    Do you read any other foreign language newspapers or publications?

             Yes _____ No _____

             If so, please list those newspapers or publications:
             ________________________________________________________________
             ________________________________________________________________

      (b)    If you speak, read or understand another foreign language, would you have any
             difficulty relying solely upon the official interpreter's translation of testimony, and
             witnesses' translations of that foreign language evidence? Yes _____ No _____




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19.   Have you ever traveled to any of the following countries for any reason?

      Morocco       Afghanistan            Saudi Arabia          Qatar           Yemen
      Algeria       Yemen                  Egypt                 Indonesia       Malaysia
      Jordan        Iraq                   Arab Emirates         Libya           Serbia
      Turkey        Iran                   Israel                Tunisia         Macedonia
      Syria         Sudan                  Palestine             Pakistan        Albania
      Kosovo        Yugoslavia             Croatia               Montenegro

      Yes _____ No ______ (If yes, please circle the appropriate countries.)

20.   Has any family member or anyone you know well ever visited or worked in a civilian,
      or non- military government capacity anywhere in the Middle East, the Balkan Peninsula,
      or North Africa, including, but not limited to the countries listed in Question 19 above?
      Yes _____ No ______

      If yes, please identify the countries he or she visited, the time period when his or her
      visit occurred, and the reason for his or her travel, visit or employment:
      ______________________________________________________________________
      ______________________________________________________________________
      ______________________________________________________________________

21.   Do you know anyone who presently resides in North Africa, the Balkan Peninsula or the
      Middle East?

      Yes _____ No _____

      If yes, who and where? ___________________________________________________
      ______________________________________________________________________

22.   Are you familiar with the culture, politics, or economy of any of the countries in the
      Middle East? If so, please explain. __________________________________________
      ______________________________________________________________________
      ______________________________________________________________________

23.   Have you ever known anyone from another country who worked in the United States
      and had to have a green card or permit to continue working here?

      Yes _____ No _____

      If yes, please explain. ____________________________________________________
      ______________________________________________________________________
      ______________________________________________________________________




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24.   What is your occupational status? (Check all that apply.)

      _____ Work full-time outside the home                  _____ Student
      _____ Work part-time outside the home                  _____ Retired
      _____ Full-time homemaker                              _____ Disabled
      _____ Homemaker with part-time employment              _____ Other: ________________
      _____ Unemployed                                       ___________________________

25.   Please state your current occupation and place of employment.
      ______________________________________________________________________

26.   Check the following category that best describes your employer:

      _____ Federal government agency        _____ Private, for-profit organization
      _____ State government agency          _____ Private, not-for-profit organization
      _____ County government agency         _____ Self employed
      _____ City government agency           _____ Other: ___________________

27.   Describe what you do: ____________________________________________________
      ______________________________________________________________________

      How long have you held this job? ___________________________________________

28.   Please list all prior occupations or jobs during the past 15 years:

             Occupation                                             Length of Employment

      ______________________________________________________________________
      ______________________________________________________________________
      ______________________________________________________________________
      ______________________________________________________________________
      _____________________________________________________________________


29.   Are you a vendor or a contractor for the United States Government or do you work for
      one? Yes _____ No _____

      If yes, please describe: ____________________________________________________
      ______________________________________________________________________




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30.   If not employed, please describe other responsibilities that you have (e.g., childcare,
      school):
      ______________________________________________________________________
      ______________________________________________________________________
      ______________________________________________________________________
      ______________________________________________________________________

31.    If unemployed, retired, or disabled, what type of work did you do?
      ______________________________________________________________________
      ______________________________________________________________________
      ______________________________________________________________________

32.   Have you ever had the authority to hire or fire employees? Yes _____ No _____

      a.     If so, have you ever fired an employee?              Yes _____ No _____

      If yes, please explain: ____________________________________________________
      ______________________________________________________________________

33.   What is your spouse/domestic partner's occupational status? (Check all that apply.)

      _____ Work full-time outside the home               _____ Student
      _____ Work part-time outside the home               _____ Retired
      _____ Full-time homemaker                           _____ Disabled
      _____ Homemaker with part-time employment           _____ Other: _________________
      _____ Unemployed                                    ____________________________

34.   Check the following category that best describes your spouse or domestic partner’s
      employer:

      _____ Federal government agency      _____ Private, for profit organization
      _____ State government agency        _____ Private, not-for-profit organization
      _____ County government agency       _____ Self employed
      _____ City government agency         _____ Other: ___________________

35.   Please state your spouse or domestic partner’s current occupation/job title and place of
      employment.
      ______________________________________________________________________
      ______________________________________________________________________

36.   Please describe the nature of his/her job: _____________________________________
      ______________________________________________________________________

37.   What kind of work did he/she do in the past? __________________________________
      ______________________________________________________________________
      ______________________________________________________________________




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38.   Check the highest level of education for you and your spouse or domestic partner:

                                          You            Spouse/domestic partner
      a.     Grade school or less         _____                _____
      b.     Some high school             _____                _____
      c.     High school graduate         _____                _____
      d.     Technical or business school _____                _____
      e.     Some college                 _____                _____
      f.     College degree               _____                _____
      g.     Graduate work or degree      _____                _____

39.   Do you own or regularly use a computer?            Yes _____ No _____

40.   Do you have any advanced knowledge or special training in the field of computers (i.e.,
      degree in computer science, job in information technology, self-taught expertise in
      hardware, software or computer systems)?        Yes _____ No _____

      If yes, please describe: ___________________________________________________
      ______________________________________________________________________

41.   If you have had any educational training beyond high school, please list all degrees you
      have received and the area of study.
      ______________________________________________________________________
      ______________________________________________________________________
      ______________________________________________________________________




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42.   Do you, your spouse or domestic partner, or another member of your immediate family
      have any education, training or employment experience in any of the following fields:

                                                       Yes           No             Some
      a.     Accounting, auditing, bookkeeping         ___           ___            ___
      b.     Aircraft, airline industry, aviation      ___           ___            ___
      c.     Security, intelligence                    ___           ___            ___
      d.     Private investigations                    ___           ___            ___
      e.     Law                                       ___           ___            ___
      f.     Medicine                                  ___           ___            ___
      g.     Psychology, psychiatry or social work     ___           ___            ___
      h.     Corrections (work in prisons/jails)       ___           ___            ___
      i.     Religion and/or philosophy                ___           ___            ___
      j.     Criminal justice                          ___           ___            ___
      k.     Foreign languages                         ___           ___            ___
      l.     Journalism, media, communications         ___           ___            ___
      m.     Emergency rescue, firefighting, EMT       ___           ___            ___

      If yes, please explain the nature and extent of the education, training or employment
      experience: ____________________________________________________________
      ______________________________________________________________________

43.   Have you ever worked as a volunteer firefighter or as a member of a rescue squad or
      ambulance crew for any federal, state, or local agency? Yes _____ No _____

      (a)   If yes, describe the nature of your service: _____________________________
      ______________________________________________________________________

      (b)   If yes, during what time period(s)? ____________________________________
      ______________________________________________________________________




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Military Service

44.   Have you, your spouse/partner, or immediate family member ever served in the armed
      forces, including the reserves, National Guard or ROTC?  Yes _____ No _______

      If yes, please answer the following:
                                         You             Spouse/Partner      Family Member
      (a)    Branch and highest rank     __________        __________             __________
      (b)    Dates of service            __________        __________             __________
      (c)    Place of Service            __________        __________             __________
      (d)    Type of Discharge           __________        __________             __________
      (e)    Served at the Pentagon?     __________        __________             __________
      (f)    Dates of service @ Pentagon __________        __________             __________
      (g)    Any experience with courts martial, military police, shore patrol or other area of
             military law enforcement? Yes _____ No _____
      (h)    Did you/they have any combat experience? Yes _____ No _____

             If so, identify location and years: _____________________________________
             ________________________________________________________________

45.   Have you, a family member, close friend or acquaintance been injured or killed while
      serving in a combat or military zone in Iraq, Afghanistan or elsewhere in the Middle
      East?         Yes _____ No _____

      If yes, please explain: ____________________________________________________
      ______________________________________________________________________
      ______________________________________________________________________

46.   Do you have any family, relatives or close friends in the military who are currently or
      were formerly stationed in the Middle East or the Balkan Peninsula?
      Yes _____ No _____

      If yes, please explain:
      ______________________________________________________________________
      ______________________________________________________________________

47.   Did you or any member of your family serve in the first or second gulf wars? If “yes,”
      please explain. __________________________________________________________
      ______________________________________________________________________




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48.   Do you have a family member or a friend who is currently, or who has previously been,
      as either a member of the armed forces or as a contractor for a government agency,
      involved in the war effort in Afghanistan, Iraq, or any aspect of the war on terrorism
      overseas? Yes _____ No _____

      If yes, please specify location, and explain: ___________________________________
      ______________________________________________________________________


Organizational Affiliations, Hobbies and Spare Time Activities

49.   What are your primary leisure time activities, hobbies and interests?
      ______________________________________________________________________
      ______________________________________________________________________
      ______________________________________________________________________
      ______________________________________________________________________

50.   Please list organizations to which you or your spouse or domestic partner belong or in
      which either of you participate, either now or in the past. (For example, civic, social,
      religious, charitable, volunteer, political, sporting, professional, business, union,
      fraternal and recreational, such as, but not limited to, Kiwanis, Rotary Club, Exchange
      Club, Knights of Columbus, Veterans of Foreign Wars, American Legion, American
      Civil Liberties Union, National Rifle Association, League of Women Voters:

      Self: __________________________________________________________________
      ______________________________________________________________________

      Spouse/domestic partner: _________________________________________________
      ______________________________________________________________________

51.   Have you ever held any office or title in the organizations listed in question 50?

      Yes _____ No _____

52.   Have you, any member of your family, or any close personal friend ever held an elected
      or appointed office in the federal, state or county government? Yes _____ No _____

      If yes, please describe: ___________________________________________________
      ______________________________________________________________________

53.   What groups or organizations, if any, did you donate money, goods, or volunteer time to
      during the last five years? _________________________________________________
      ______________________________________________________________________
      ______________________________________________________________________




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54.   Please state what bumper stickers or decals you have on any vehicle (excluding those
      required by the county/city or the State of Virginia), including any political, social,
      religious, charitable or any other sticker or decal.
      ______________________________________________________________________
      ______________________________________________________________________

55.   Would you say that you seek out positions of leadership when you participate with
      others in your employment or other activities?

      Always _____ Often _____ Sometimes _____ Seldom _____ Never _____

56.   Have you ever contributed money to an organization that opposes or wants to limit
      immigration, or opposes certain rights to immigrants, or proposes changes to the
      immigration law? Yes _____ No _____

      If yes, please describe: ____________________________________________________
      ______________________________________________________________________

57.   Have you or any family member been a member of any group that lobbies or takes
      public positions on law enforcement issues? Yes ____ No _____

      If yes, please identify the group: ____________________________________________
      ______________________________________________________________________

58.   Are you a member or supporter of any group which is either for or against gun control
      (such as the National Rifle Association)? Yes _____ No _____

      If yes, please describe: ____________________________________________________
      ______________________________________________________________________

59.   Do you or does anyone who lives in your home own any firearms? Yes ____ No _____

      If yes, what type and for what purpose? ______________________________________
      ______________________________________________________________________
      ______________________________________________________________________


Media Consumption

60.   What newspapers and news magazines do you read regularly (either in print or online)?
      ______________________________________________________________________
      ______________________________________________________________________




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61.    How often do you read a newspaper or news magazine?

       Every day ____
       Several times a week ____
       Once or twice a week ____
       Less often than once a week ____
       Never ____

62.     What online sites do you visit most often for news, editorials, opinions, or commentary
on the news, including comedy or satire sites, as well as news aggregators, such as Yahoo News?
        ________________________________________________________________________
        ________________________________________________________________________
        ______________________________________________________________________
        ______________________________________________________________________

63.    What were the last three books you read?

       (1) ____________________________________________________________________
       (2) ____________________________________________________________________
       (3) ____________________________________________________________________

64.    Do you watch television?       Yes _____ No _____

       If yes, what are your favorite television programs? _____________________________
       ______________________________________________________________________
       ______________________________________________________________________
       ______________________________________________________________________

65.    Please list all sources of news you watch, listen to, or read on a regular basis, in print or
       on television, radio or the internet, including the names of any particular news programs
       or internet sites.
       ______________________________________________________________________
       ______________________________________________________________________
       ______________________________________________________________________

66.    How often do you watch the news on TV? (Please check only one answer.)

       Every day ____
       Several times a week ____
       Once or twice a week ____
       Less often than once a week ____
       Never ____




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67.   How often do you listen to news on radio? (Please check only one answer.)

      Every day ____
      Several times a week ____
      Once or twice a week ____
      Less often than once a week ____
      Never ____

68.   Do you listen to radio talk shows?   Yes _____ No _____

      If yes, which radio talk shows do you listen to? ________________________________
      ______________________________________________________________________

69.   Do you ever listen to political commentators on TV or the radio, or do you ever visit
      political blog sites on the internet? Yes _____ No ____

      If yes, which one(s)? _____________________________________________________
      ______________________________________________________________________
      ______________________________________________________________________

70.   This case is likely to receive ongoing media attention. The Court wants to make sure
      that this case is decided solely on the evidence in the courtroom and not based on things
      that are said outside the courtroom. Accordingly, the Court will be advising you
      periodically that you must avoid reading about the case in the newspapers or listening to
      any radio or television reports about the case. The Court will also advise you
      periodically that you must avoid discussing this case with friends or family during the
      course of the trial.

      Would these requirements pose any difficulty for you?      Yes _____ No _____

71.   In what ways, if any, could your political views, or those of your spouse, affect your
      service as a juror in this case? ______________________________________________
      ______________________________________________________________________
      ______________________________________________________________________
      ______________________________________________________________________




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Contact and Experiences with Crime, Courts and Legal System

72.   Are you, or have you ever been, a member of any victims’ rights group?

      Yes _____ No _____

      If yes, please identify the group and describe your participation. ___________________
      ______________________________________________________________________
      ______________________________________________________________________
      ______________________________________________________________________

73.   Are you, or is any close friend or relative, a member of a neighborhood crime watch or
      prevention group? Yes _____ No _____

      (a)   If yes, please identify the group and describe that participation: _____________
      ______________________________________________________________________
      ______________________________________________________________________
      ______________________________________________________________________

74.   Have you ever called the police for any reason?   Yes _____ No _____

      (a)   If yes, please explain: _______________________________________________
      ______________________________________________________________________
      ______________________________________________________________________




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75.   Have you, or has any member of your family or close friend or relative, ever been the
      victim of, or witness to a crime, whether or not that crime was reported to law
      enforcement authorities?   Yes _____ No _____

      (a)    If no, go to question 76. If yes, please provide the following information for
             each person and incident:

             Relationship                                 Was      Outcome
             (Self, sister, Type of Victim or Reported   anyone     of the
             etc.)          Crime Witness     to Police?  Caught?  Case
             ________________________________________________________________
             ________________________________________________________________
             ________________________________________________________________
             ________________________________________________________________
             ________________________________________________________________

      (b)    In what ways, if any, did any of these incidents that you, or a person close to
             you, experienced affect your attitude about crime?
             _______________________________________________________________
             _______________________________________________________________
             _______________________________________________________________

      (c)    How do you feel about how the police or law enforcement authorities handled
             the situation? ____________________________________________________
             ________________________________________________________________
             ________________________________________________________________
             ________________________________________________________________

      (d)    Was there any sort of court hearing in the case(s) you described in Question 75?

             Yes _____ No _____

      (e)    Did you, or the person close to you, testify at the court hearing?

             Yes _____ No _____

             If yes, how did you feel about the experience of testifying? ________________
             ________________________________________________________________
             ________________________________________________________________

76.   Have you ever known a homicide (murder) victim? Yes ______ No _____




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77.   Have you or any family members or close friends had any personal experience with acts
      of terrorism? Yes _____ No _____

      If yes, please explain: ____________________________________________________
      ______________________________________________________________________
      ______________________________________________________________________

78.   Do you believe that you, a member of your family, or a close friend, has ever been
      directly or indirectly affected in any way by a terrorist act or threat?

      Yes _____ No ______

      If yes, please explain: _____________________________________________________
      ______________________________________________________________________
      ______________________________________________________________________

79.   Have you, or has any member of your family or close friend or relative, ever been
      questioned about, accused of, investigated for, arrested for or charged with a crime,
      other than a minor traffic offense? Yes _____ No _____

      (a)    If yes, please provide the following:

      Relationship of person
      charged (Self, Sister, etc.) Crime(s)charged    Case Outcome
      ______________________________________________________________________
      ______________________________________________________________________
      ______________________________________________________________________


      (b)    If yes, please provide a brief description of the alleged crime(s) and the events
             leading up to the accusation, arrest or charge: ___________________________
             ________________________________________________________________
             ________________________________________________________________
             ________________________________________________________________

      (c)    How did you feel about being questioned about that experience? ____________
             ________________________________________________________________
             ________________________________________________________________
             ________________________________________________________________




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80.   Have you ever had to appear in court, or in any legal proceeding, as a plaintiff,
      defendant, victim, or witness for any reason other than that explained above?

      Yes _____ No ______

      (a)    If yes, please state when and explain why you appeared in court: ____________
             ________________________________________________________________
             ________________________________________________________________

81.   Would your experience being investigated, questioned about, accused of, arrested for or
      charged with a crime affect your ability to serve as a juror in this case?
      ______________________________________________________________________
      ______________________________________________________________________
      ______________________________________________________________________

82.   In your opinion, what are the major causes of crime? ___________________________
      ______________________________________________________________________
      ______________________________________________________________________
      ______________________________________________________________________

83.   How do you feel about the way the criminal justice system is working in the United
      States? Please explain: ___________________________________________________
      ______________________________________________________________________
      ______________________________________________________________________

84.   Have you, or has any close friend or relative, made or brought any claims or lawsuits
      against any federal, state or local government agency?   Yes _____ No _____

      (a)    If yes, please explain: ______________________________________________
             ________________________________________________________________
             ________________________________________________________________

85.   Have any claims or lawsuits ever been made by any federal, state or local official or
      government agency against you, or any close friend or relative? Yes _____ No _____

      (a)   If yes, please explain: _______________________________________________
      ______________________________________________________________________
      ______________________________________________________________________




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86.   Have you ever served as a juror at a trial before?   Yes _____ No _____

      (a)    If yes, please complete the following for each trial on which you served as a
             juror:

      Date   State Criminal         Charges/        When did      Where did
                                                                   Did the jury
             or Fed. or Civil       Allegations     you serve?    you serve?
                                                                   reach a
                                                                   verdict?
      1. ____________________________________________________________________
      2. ____________________________________________________________________
      3. ____________________________________________________________________
      (b)    Have you ever served as a jury foreperson? Yes _____ No _____

      (c)    Was there anything about your jury experience that left you disappointed or
             dissatisfied with our criminal justice system?      Yes _____ No _____

             Please explain: ____________________________________________________
             ________________________________________________________________
             ________________________________________________________________

      (d)    Did the judge or prosecutor or anyone else comment on your verdict?

             Yes _____ No _____

             Please explain: ____________________________________________________
             ________________________________________________________________
             ________________________________________________________________

      (e)    Was there anything about your experience as a juror which would make you not
             want to serve again?        Yes _____ No _______

             Please explain: ____________________________________________________
             ________________________________________________________________
             ________________________________________________________________

      (f)    In general, how much did you participate in that jury's discussion?

             _____ Less than other jurors _____ About the same
             _____ More than other jurors

      (g)    Have you ever served as a juror on a grand jury?     Yes _____ No ______

             If yes, when and where? ____________________________________________
             ________________________________________________________________




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87.   Is there any racial or ethnic group that you do not feel comfortable being around?

      Yes _____ No _____ Not Sure ___

      If yes, please explain: ____________________________________________________
      ______________________________________________________________________
      ______________________________________________________________________

88.   Do you know of any reason that would keep you from serving fairly and impartially as a
      juror in a case in which the defendant was a person whose race was different than yours?
      Yes _____ No ______

      If yes, please explain: ____________________________________________________
      ______________________________________________________________________
      ______________________________________________________________________

89.   Are you acquainted with any other prospective juror in this case? If so, please indicate
      who you know and how you are acquainted.
      ______________________________________________________________________
      ______________________________________________________________________

90.   When you feel you are correct, will you still listen to the arguments of others who do
      not agree with you?        Yes _____ No _____

      If yes, are you sometimes persuaded to change your position?      Yes _____ No _____

91.   Do you generally “hold your ground” when you feel that you are correct, or are you
      easily swayed by the strong influence of others?

      _____ Always hold my ground
      _____ Generally hold my ground
      _____ Generally swayed by others
      _____ Almost always swayed by others




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92.   Have you, any members of your family, or any close friends ever been employed by, or
      made any application for employment with, any local, state, or federal law enforcement
      or private security agency, including, but not limited to, the following (check as many as
      apply for each category):

                                    Self    Family                 Close         Position
                                            Member        Friend
      Federal Bureau of
      Investigation (F.B.I.)       _____ _____            ______           _______________
      U.S. Attorney Office         _____ ______           ______           _______________
      State Prosecutor’s Office    _____ ______           ______           _______________
      Internal Revenue Service IRS _____ ______           ______           _______________
      Drug Enforcement Ag. DEA _____ ______               ______           _______________
      Central Intelligence Ag. CIA _____ ______           ______           _______________
      National Security Ag. NSA ______ _____              ______           _______________
      Department of Justice        _____ ______           ______           _______________
      State Department             _____ ______           ______           _______________
      Any U.S. Embassy             _____ ______           ______           _______________
      U.S. Treasury Department _____ ______               ______           _______________
      Department of Homeland
      Security                     _____ ______           ______           _______________
      Peace Corps                  _____ ______           ______           _______________
      Agency for International
      Development (AID)            ____ ______            ______           _______________
      Immigration, Naturalization
      Service                      _____ ______           ______           ________________
      Military Police              _____ ______           ______           ________________
      Correctional Officer         _____ ______           ______           ________________
      Bureau of Prisons            _____ ______           ______           ________________
      Parole or Probation Office _____ ______             ______           ________________
      State Police                 _____ ______           ______           ________________
      Police Department            _____ ______           ______           ________________
      Sheriff’s Department         _____ _______          ______           ________________
      U.S. Marshal’s Service       _____ ______           ______           ________________
      Secret Service               _____ ______           ______           ________________
      U.S. Customs                 _____ ______           ______           ________________
      U.S. Postal Service          _____ ______           ______           ________________
      Federal Protective Services _____ ______            ______           ________________
      Naval Investigative Services _____ ______           ______           ________________
      Bureau of Alcohol, Tobacco
      and Firearms (BATF)          _____ ______           ______           ________________
      U.S. Park Police             _____ ______           ______           ________________
      Other law enforcement or private
      security agency not listed   _____ ______           ______           ________________




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93.   Have you, any member of your family or close personal friend ever worked or applied
      for employment with any federal, state or local law enforcement agency other than those
      listed above?       Yes _____ No _____

      If yes what agency? ______________________________________________________

94.   Have you: (Check an answer for each)
      A.    Volunteered to assist law enforcement?                Yes _____ No _____
      B.    Participated in a “Ride along” program?               Yes _____ No _____
      C.    Donated money to any police or other law
            enforcement auxiliary or fund raising program         Yes _____ No _____

95.   Would you, as a juror, give law enforcement officers when testifying as a witness in a
      case, more credibility, less credibility, or the same credibility as anyone else’s
      testimony?

      ______ More credibility
      ______ Less credibility
      ______ Same credibility

      Please explain. _________________________________________________________
      ______________________________________________________________________
      ______________________________________________________________________

96.   Overall, what are your views concerning law enforcement agencies?
      ______________________________________________________________________
      ______________________________________________________________________

97.   What is your opinion of the performance of the Federal Bureau of Investigation (FBI) in
      each of the following criminal investigations? (Circle one response for each
      investigation.)

                              Performed   Performed      Not Familiar          No
                                Well      Poorly         with Matter           Opinion

      A.     Waco, TX             1           2               3                     4

      B.     Ruby Ridge           1           2               3                     4

      C.     Richard Jewell       1           2               3                     4

      D.     Wen Ho Li            1           2               3                     4

      E.     September 11th       1           2               3                     4

      F.     Anthrax              1            2              3                     4




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98.    Have you, or has any close friend or relative, ever worked or been a volunteer in the
       legal profession either as a lawyer, paralegal, or in a law office, including a prosecutor's
       or public defender's office? Yes ____ No _______

       (a)    If yes, please explain:
              ________________________________________________________________
              ________________________________________________________________

99.    Generally speaking, what is your opinion of prosecutors? ________________________

100.   Generally speaking, what is your opinion of criminal defense attorneys? ___________

101.   What is your opinion of criminal defense attorneys who accept court appointments to
       represent persons accused of acts of terrorism? ________________________________
       ______________________________________________________________________
       ______________________________________________________________________

102.   Have you ever had an unfavorable experience with a lawyer or judge?

       Yes _____ No ______

       (a)    If yes, please explain: ______________________________________________
              ________________________________________________________________
              ________________________________________________________________

103.   There will be evidence in this case about the activities of American and/or foreign
       intelligence agencies. Do you have any strong feelings about American intelligence
       services or foreign intelligence services? Yes _____ No _____

       If yes, please explain. _____________________________________________________
       ______________________________________________________________________


General Opinions and Beliefs about the Criminal Justice System

PLEASE CHECK THE ANSWER THAT MOST CLOSELY REFLECTS YOUR OWN
OPINION CONCERNING THE FOLLOWING STATEMENTS.

104.   Do you believe that if the prosecution goes to the trouble of bringing someone to trial,
       he or she is probably guilty?        Yes _____ No _____ Unsure _____

105.   Do you believe that there is always some good in every person no matter how horrible a
       crime he or she may have committed?        Yes _____ No _____ Unsure _____




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106.   Do you believe that the law does too much to protect the rights of criminal defendants
       and not enough to protect the rights of crime victims and their families?

       Yes _____ No _____ Unsure ____

107.   Do you believe that defendants in criminal trials should have to prove that they are
       innocent?    Yes _____ No _____ Unsure _____

108.   Do you believe that sometimes people are convicted of crimes they did not commit?

       Yes ______ No _____ Unsure _____

109.   Do you believe that if the defendant in a criminal trial does not testify he or she is
       probably guilty?    Yes _____ No _____ Unsure _____

110.   Do you believe that it is better to let 10 guilty defendants go free that to risk convicting
       an innocent person? Yes _____ No _____ Unsure _____

111.   Do you believe that, in a criminal trial, the defendant should be presumed innocent?

       Yes _____ No _____ Unsure _____

112.   Do you believe that punishment or rehabilitation is the more important objective in
       sentencing those convicted of violent crimes? Punishment ______ Rehabilitation _____

113.   Do you believe that “proof beyond a reasonable doubt” is too heavy a burden for the
       prosecution to have to meet in a terrorism trial? Yes _____ No _____ Unsure _____

114.   Do you feel that the criminal justice system generally treats criminals too harshly, about
       right, or too leniently?      Too harsh _____ About right _____ Too lenient _____

115.   Would you be more likely to believe the testimony of a law enforcement officer as
       compared to other witnesses?     Yes _____ No _____ Unsure _____

116.   Do you believe that criminal defendants accused of terrorist acts should have to prove
       that they are innocent?     Yes _____ No _____ Unsure _____

117.   Do you believe that government should be given the benefit of the doubt in proving the
       guilt of defendants accused of terrorist acts against the United States?

       Yes _____ No _____ Unsure _____

118.   Do you believe that defendants accused of participating in the terrorist acts of
       September 11th should be given the same rights as other criminal defendants?

       Yes _____ No _____ Unsure _____




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119.   Do you believe that even in times of national crisis, the rights of criminal defendants
       should be fully protected?  Yes _____ No _____ Unsure _____

120.   Do you believe that “proof beyond a reasonable doubt” is too heavy a burden for the
       prosecution to have to meet in criminal trials? Yes _____ No _____ Unsure _____

121. Do you believe that if the prosecution goes to the trouble of bringing someone to trial
     for acts related to the events of September 11, 2001, he or she is probably guilty?

       Yes _____ No _____ Unsure _____

122.   Certain ones of the defendants are not American born citizens but rather are naturalized
       citizens. Would you be able to afford them the same rights and considerations as you
       would a defendant who is born in the United States? Yes _____ No _____ Unsure _____

       Please explain: __________________________________________________________
       ______________________________________________________________________
       ______________________________________________________________________


Mental Health Training and Experience

123.   Have you or anyone in your family or close personal friend ever been employed in any
       capacity in any type of psychiatric facility, hospital, clinic or rehabilitation center?

       Yes _____ No _____ Unsure _____

        Please explain: _________________________________________________________
       ______________________________________________________________________
       ______________________________________________________________________

124.   Have you, anyone in your family or close personal friend ever received in-patient
       treatment, or been under a doctor’s care, for any type of mental or psychiatric condition,
       including mood disorders, or as treatment for alcoholism or drug abuse?

       Yes _____ No _____ Unsure _____

        Please explain: _________________________________________________________
       ______________________________________________________________________
       ______________________________________________________________________




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125.   Do you know anyone with a serious mental health, alcohol, drug or psychiatric
       condition who refuses to seek treatment for their condition?

       Yes _____ No _____ Unsure _____

        Please explain: _________________________________________________________
       ______________________________________________________________________
       ______________________________________________________________________

126.   Do you have an opinion as to whether a defendant’s mental health should be taken into
       account in a trial:

       a)     where the government must prove that the defendant acted with specific intent?

              Yes _____ No _____ No Opinion _____


Contact, Knowledge and Experience with Religious Groups and Organizations

127.   What, if any, religion were you raised in? _____________________________________

128.   What is your current religious affiliation, if any? _______________________________

129.   How often do you attend religious services?

       Regularly _____ Occasionally _____ Seldom _____ Never ______

130.   Have you ever experienced what you believe to be discrimination against you because
       of your religious beliefs?

       Yes _____ No ______

       If yes, please explain where and when: _______________________________________
       ______________________________________________________________________
       ______________________________________________________________________

131.   Do you know anyone who practices the faith of Islam?      Yes _____ No _____

       If yes, what is your relationship with that person: _______________________________
       ______________________________________________________________________




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132.   How knowledgeable are you about the history and/or practices of Islam?

       very knowledgeable _____
       somewhat knowledgeable _____
       not too knowledgeable _____
       not knowledgeable at all ______

133.   If you have any knowledge about Islam, describe the basis for your knowledge: ______
       ______________________________________________________________________
       ______________________________________________________________________

134.   Do you believe that Islam endorses violence to a greater or lesser extent that other major
       religions?    Yes _____ No _____ Unsure _____

        Please explain: _________________________________________________________
       ______________________________________________________________________
       ______________________________________________________________________


135.   Is there anything about a case where the defendant is a follower of Islam that would
       make it hard for you to be a fair and impartial juror?

       Yes _____ No _____ Unsure _____

       If yes, please explain: ____________________________________________________
       ______________________________________________________________________

136.   In what contexts have you had personal contact with people who are Muslim or of Arab
       descent? (Please check all answers that apply.)

       _____ In the family
       _____ In the neighborhood
       _____ In organizations
       _____ Through work/business
       _____ In places of worship
       _____ In school
       _____ In everyday life (shopping, movies etc.)
       _____ None
       _____ Other ____________________________________________________________

137.   Describe the nature of those contacts: ________________________________________
       ______________________________________________________________________
       ______________________________________________________________________




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138.   Are you, or any relatives or close friends, Muslim, or of Arab descent?

       Yes _____ No _____

139.   Do you now or have you ever worked with any people who are Muslim or of Arab
       descent?    Yes _____ No _____

140.   Do you socialize with people who are Muslim or are of Arab descent?

       Yes _____ No _____

141.   Do you have an initial reaction when learning that a person is Muslim or of Arab
       descent?    Yes _____ No _____

142.   Have you or any family member or close personal friend had any negative experience
       with persons who are Muslim or of Arab descent?       Yes _____ No _____

143.   Do you have any negative feelings or opinions about people who are Muslim or of Arab
       or North African descent?   Yes _____ No _____

If you answered “yes” to Q141, Q142 or Q143, please explain your answer(s).

______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________

144.   Is there anything about a case where a defendant or witnesses are Muslim that would
       make it hard for you to serve as a fair and impartial juror? Yes _____ No _____

       If yes, please explain: ____________________________________________________
       ______________________________________________________________________




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General Opinions, Attitudes and Beliefs about Islam, Muslims and the Middle East Politics

145.   Please indicate your degree of agreement or disagreement with the following statements.

       (a)    Muslims are more violent than other people.

              _____ Agree Strongly           _____ Disagree Somewhat
              _____ Agree Somewhat           _____ Disagree Strongly       _____ No Opinion

       (b)    Islam is a peaceful and nonviolent religion.

              _____ Agree Strongly           _____ Disagree Somewhat
              _____ Agree Somewhat           _____ Disagree Strongly       _____ No Opinion

       (c)    Islam seeks to rid the world of other religions.

              _____ Agree Strongly           _____ Disagree Somewhat
              _____ Agree Somewhat           _____ Disagree Strongly       _____ No Opinion


146.   Please indicate how favorable or unfavorable is your opinion of the following people or
       positions.

       (a)    Muslims generally.

              ____ Strongly Favorable _____ Somewhat Unfavorable
              ____ Somewhat Favorable _____ Strongly Unfavorable ____ No Opinion

       (b)    Fundamentalist Muslims who believe in the strict application of Islamic law.

              ____ Strongly Favorable _____ Somewhat Unfavorable
              ____ Somewhat Favorable _____ Strongly Unfavorable ____ No Opinion

       (c)    Muslims who strongly object to the presence of U.S. military bases in the
              Islamic holy land.

              ____ Strongly Favorable _____ Somewhat Unfavorable
              ____ Somewhat Favorable _____ Strongly Unfavorable ____ No Opinion




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Contact, Experience and Knowledge of the Events of September 11, 2001

147.   Were you in the metropolitan Washington, D.C. area or in New York during the day of
       September 11, 2001?         Yes _____ No _____

148.   Do you have any family members or friends who were in the metropolitan Washington,
       D.C. area or New York during the day of September 11, 2001?  Yes _____ No _____

149.   Do you know someone personally who was in New York City during the day of
       September 11, 2001?    Yes _____ No _____

150.   How did you first learn about the September 11 hijacking of aircraft that were crashed
       into the World Trade Center in New York, the Pentagon and in Pennsylvania?
       ______________________________________________________________________
       ______________________________________________________________________
       _____________________________________________________________________

151.   What do you feel are the reasons why the United States was attacked by terrorists on
       September 11, 2001? ____________________________________________________
       ______________________________________________________________________
       ______________________________________________________________________

152.   Was anyone in your family or any close friend injured or killed in the attacks on the
       World Trade Center and the Pentagon, or on the flight that was downed in Pennsylvania,
       on September 11, 2001?      Yes _____ No _____

       If yes, please explain: ____________________________________________________
       ______________________________________________________________________

153.   Do you know anyone else who was injured or killed in the September 11 terrorist
       attacks, or any of their family members or close personal friends?

       Yes _____ No _____

       If yes, please explain: ____________________________________________________
       ______________________________________________________________________

154.   Do you have a family member or close personal friend who knows someone who was
       injured or killed in the September 11 terrorist attacks, or any of the victim’s family
       members or close personal friends?

       Yes _____ No _____

       If yes, please explain: ____________________________________________________
       ______________________________________________________________________




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155.   As a result of the terrorist attack, did you, a family member or a close friend take any of
       the following actions on the day of September 11:

       A.     Leave the building you were in as a result
              of an evacuation order?                                Yes _____ No _____
       B.     Choose to leave the building you were in?              Yes _____ No _____
       C.     Leave work early that day?                             Yes _____ No _____
       D.     Call someone to check on their safety
              or to let them know of your safety?                    Yes _____ No _____
       E.     Receive a call checking on your safety
              or the safety of others?                               Yes _____ No _____

156.   Do you now, or did you previously:

       A.     Work at or near the Pentagon?                       Yes _____ No _____
       B.     Live near the Pentagon?                             Yes _____ No _____
       C.     Know someone who works at or near
              the Pentagon?                                       Yes _____ No _____
       D.     Know someone who lives at or near
              the Pentagon?                                       Yes _____ No _____
       E.     Work at or near the Twin Towers site
              in New York City?                                   Yes _____ No _____
       F.     Know someone who works at or near the
              Twin Towers site in New York City?                  Yes _____ No _____
       G.     Know someone who lives at or near the
              Twin Towers site in New York City?                  Yes _____ No _____
       H.     Participate in any way in any of the
              rescue efforts following the September 11th attack? Yes _____ No _____
       I.     Know someone who participated in any way
              in any of the rescue efforts following the
              September 11th attack?                              Yes _____ No _____
       J.     Know someone who has suffered emotional
              distress as a result of the September 11th attack?  Yes _____ No _____
       K.     Work in or near Somerset County,
              Pennsylvania?                                       Yes _____ No _____
       L.     Know someone who lives in or near Somerset
              County, Pennsylvania?                               Yes _____ No _____
       M.     Know someone who works in or near Somerset
              County, Pennsylvania?                               Yes _____ No _____

       If yes, please explain: ____________________________________________________
       ______________________________________________________________________
       ______________________________________________________________________




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157.   Do you or any members of your family or close friends now, or did you or they
       previously:

       A.     Know someone who works at or near
              the Pentagon?                                      Yes _____ No _____
       B.     Know someone who lives near
              the Pentagon?                                      Yes _____ No _____
       C.     Know someone who works at or near the
              Twin Towers site in New York City?                 Yes _____ No _____
       D.     Know someone who lives at or near the
              Twin Towers site in New York City?                 Yes _____ No _____
       E.     Know someone who participated in any way
              in any of the rescue efforts following the
              September 11 attack?                               Yes _____ No _____
       F.     Know someone who has suffered emotional
              distress as a result of the September 11 attack?   Yes _____ No _____
       G.     Know someone who lives in or near Somerset
              County, Pennsylvania?                              Yes _____ No _____
       H.     Know someone who works in or near Somerset
              County, Pennsylvania?                              Yes _____ No _____
       I.     Know someone who lives in or near Newark,
              New Jersey?                                        Yes _____ No _____
       J.     Know someone who works in or near Newark,
              New Jersey?                                        Yes _____ No _____
       K.     Know someone who lives in or near Boston,
              Massachusetts?                                     Yes _____ No _____
       L.     Know someone who works in or near Boston,
              Massachusetts?                                     Yes _____ No _____
       M.     Know someone who witnessed the September 11
              attacks on the Twin Towers in New York,
              or the collapse of the Towers?                     Yes _____ No _____
       N.     Know someone who witnessed the September 11
              attack on the Pentagon?                            Yes _____ No _____

       If yes, please explain: ____________________________________________________
       ______________________________________________________________________
       ______________________________________________________________________
       ______________________________________________________________________

158.   Describe how the events of September 11 have affected you or your family members or
       your community: _______________________________________________________
       ______________________________________________________________________
       ______________________________________________________________________




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159.   Did you drive by the Pentagon building in the days immediately following September
       11, 2001 to observe the damage, or during the period of the Pentagon’s reconstruction?

       Yes _____ No _____

       If yes, about how many times? ____________________

160.   Have you been to the Pentagon building since September 11, 2001?

       Yes _____ No _____

       If so, for what purpose? __________________________________________________

161.   Have you participated in any of the following activities in connection to the events of
       September 11th?

       A.     Donated money, goods, or time to support relief efforts
              for the victims of the 911 terrorist attacks?       Yes _____ No _____
       B.     Donated blood?                                      Yes _____ No _____
       C.     Visited the Pentagon crash site?                    Yes _____ No _____
       D.     Visited the Twin Tower crash site
              in New York City?                                   Yes _____ No _____
       E.     Visited any memorial site, or attended any
              memorial service for 911 victims and survivors?     Yes _____ No _____
       F.     Participated in the rebuilding of the Pentagon?     Yes _____ No _____
       G.     Displayed a flag or other patriotic symbol on your
              vehicle or home as a result of September 11th?      Yes _____ No _____
       H.     Purchased a magazine, book or other item
              commemorating September 11th?                       Yes _____ No _____
       I.     Contacted a Website concerning
              September 11th related events?                      Yes _____ No _____

       Please explain: _________________________________________________________
       ______________________________________________________________________
       ______________________________________________________________________




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162.   Have any of your family members or close friends participated in any of the following
       activities in connection to the events of September 11th?

       A.     Donated money, goods, or time to support relief efforts
              for the victims of the 911 terrorist attacks?       Yes _____ No _____
       B.     Donated blood?                                      Yes _____ No _____
       C.     Visited the Pentagon crash site?                    Yes _____ No _____
       D.     Visited the Twin Tower crash site
              in New York City?                                   Yes _____ No _____
       E.     Visited any memorial site, or attended any
              memorial service for 911 victims and survivors?     Yes _____ No _____
       F.     Participated in the rebuilding of the Pentagon?     Yes _____ No _____
       G.     Displayed a flag or other patriotic symbol on your
              vehicle or home as a result of September 11th       Yes _____ No _____
       H.     Purchased a magazine, book or other item
              commemorating September 11th?                       Yes _____ No _____
       I.     Contacted a Website concerning
              September 11th related events?                      Yes _____ No _____

       Please explain: __________________________________________________________
       ______________________________________________________________________

163.   Have you ever attended any hearings (or portions of hearings) of the 9/11 Commission,
       watched them on TV or listened to them on the radio?       Yes _____ No _____

164.   Have you ever read any reports, memos or documents written or reviewed by the 9/11
       Commission, or read or heard portions or accounts of them in any newspaper or other
       news source? Yes _____ No _____

       If you answered “Yes” to either of the above questions, please describe.
       ______________________________________________________________________
       ______________________________________________________________________
       ______________________________________________________________________




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165.   Do you know, or are you familiar with, the names of any commissioners on the 9/11
       Commission? If so, identify the names and indicate your opinion regarding each.

       Name: _____________________
       Is your opinion (please circle your response)

       Favorable             Unfavorable               No Opinion

       Name: _____________________
       Is your opinion (please circle your response)

       Favorable             Unfavorable               No Opinion

       Please explain how you have come to know these names: _______________________
       ______________________________________________________________________
       ______________________________________________________________________

166.   Do you know any persons who served on the staff of the 9/11 Commission?

       Yes _____ No _____

       If you answered yes, identify his, her or their positions on the staff. ________________
       ______________________________________________________________________
       ______________________________________________________________________
       ______________________________________________________________________

167.   Have you had any discussions with any 9/11 Commissioners or staff members about the
       work of the Commission?     Yes _____ No _____

       If yes, please describe those discussions: _____________________________________
       ______________________________________________________________________
       ______________________________________________________________________
       ______________________________________________________________________

168.   Do you know anyone who has purchased or displayed any t-shirt, bumper sticker or
       poster depicting “anti-bin Laden” or “anti-terrorist” sentiments?

       Yes _____ No ________

       Please describe that person’s relationship to you and any such items: ______________
       ______________________________________________________________________
       ______________________________________________________________________




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169.   Are you, a family member, or a close friend employed in any capacity for any of the
       following businesses, agencies or industries:

       A.     Any branch of the U.S. military in either
              a civilian or enlisted capacity?                        Yes _____ No _____
       B.     Any media company, such as a newspaper,
              or a radio or television station?                       Yes _____ No _____
       C.     A private defense contractor?                           Yes _____ No _____
       D.     A government defense or intelligence agency
              or department?                                          Yes _____ No _____
       E.     A government department or agency that is involved
              in any way in the efforts to fight terrorism, including
              bio-terrorism, either at home or abroad?                Yes _____ No _____
       F.     A private corporation or business involved in any
              way in the efforts to fight terrorism, including
              bio-terrorism either at home or abroad?                 Yes _____ No _____
       G.     A Federal, city, state or local law enforcement agency Yes _____ No _____
       H.     For the United States Postal Service or in any of
              its postal facilities?                                  Yes _____ No _____
       I.     For the United States Congress, White House
              or in any offices in or around the
              U.S. Capitol building?                                  Yes _____ No _____

170.   Do you know anyone who is a pilot or flight attendant or who works in any capacity for
       an airline, an airport, a travel agency or any business that provide goods or services to
       the airline industry, or for governmental agencies that monitor or assist the airline
       industry?       Yes _____ No ______

171.   Do you or anyone you know regularly travel by air as part of your or his or her job?

       Yes _____ No _____

172.   Did you, or any family member or close personal friend have any plans to travel that
       were canceled as a result of the September 11th attacks?

       Yes _____ No _____

173.   Have you or any family member or close personal friend refused to fly in an airplane or
       been very reluctant to fly in an airplane as a result of the September 11th attacks?

       Yes _____ No _____

174.   If you had to travel by a major airline at the present time, how concerned would you be
       about your safety?

       Very Concerned _____ Somewhat Concerned _____ Not Concerned _____




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175.   Did you or any family member or a close friend lost a job, or business contract, or
       experienced any other financial hardship as a result of events connected to September
       11th?         Yes _____ No _____

176.   Did you or any family member or a close friend had to work substantial overtime or
       additional hours as a result of events connected to September 11th?

       Yes _____ No _____

177.   In your opinion, how likely is it that more terrorist attacks will be carried out against
       major US cities, buildings or national landmarks in the future?

       Very Likely _____ Not Very Likely _____
       Somewhat Likely _____ Not at All Likely _____ No Opinion _____

178.   How concerned are you that terrorists will commit acts of violence near where you live
       or work?

       Very Concerned _____ Somewhat Concerned _____ Not Concerned _____

179.   How worried are you that you or someone you love will be the victim of a terrorist
       attack?

       Very Worried _____ Somewhat Worried _____ Not Too Worried _____

180.   How worried are you that there are members of a terrorist group in the area near where
       you live or work?

       Very Worried _____ Somewhat Worried _____ Not Too Worried _____

181.   How concerned do you feel when you hear the sounds of military jets patrolling the
       airspace over Washington?

       Very Concerned _____ Somewhat Concerned _____ Not Concerned _____

182.   When you see an airplane flying, do you sometimes think it might crash in an act of
       terrorism?  Yes _____ No _____

183.   Do you sometimes think it may be an indication of a terrorist attack when you hear the
       sounds of sirens?   Yes _____ No _____




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184.   How much, if any, have the events surrounding the September 11th attacks on the
       Pentagon or World Trade Center affected you personally?

       A great deal           _____
       A good amount          _____
       Not too much           _____
       Not at all             _____

185.   How much, if any, has your own personal sense of safety and security been shaken by
       the terrorist attacks?

       A great deal   _____
       Somewhat       _____
       A little       _____
       Not at all     _____

186.   Do you believe that you, a member of your family, or a close friend, have been directly
       or indirectly affected in any way by a terrorist act?

       Yes ____ No _____

       If yes, please explain the event: ____________________________________________
       ______________________________________________________________________
       ______________________________________________________________________
       ______________________________________________________________________

187.   Have you written to any elected or appointed government official; or to any newspaper
       or magazine; or called in to any television or radio program, or written to any internet
       “chat room” to express your opinion about the U.S. war on terrorism, the events related
       to September 11, Usama Bin Laden, al Qaeda or any other related issue?

       Yes _____ No _____

       If yes, please describe: ___________________________________________________
       ______________________________________________________________________
       ______________________________________________________________________




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188.   Within the last month, how often have you read, seen or heard news reports concerning
       the events of September 11th terrorist attack, or the U.S. war on terrorism?

       More than once a day          _____
       Once a Day                    _____
       Several times a week          _____
       A few times a week            _____
       Once or twice a week          _____
       Less than once a week         _____
       Almost never                  _____

189.   Within the last month, how often have you had a conversation about the events of
       September 11th terrorist attack or the U.S. war on terrorism?

       More than once a day _____
       Once a day            _____
       Several times a week _____
       A few times a week _____
       Once or twice a week _____
       Less than once a week_____
       Almost never          _____

190.   How often do you think about the victims of the September 11th terrorist attacks or the
       families who lost members in these attacks?

       Often _____ Sometimes _____ Rarely ______ Never _____




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191.   Since the terrorist attacks of September 11th and later events, have you experienced any
       of the following:

       (a)    An increase in feeling depressed or sad?

              Yes _____ No _____ Unsure _____

       (b)    An increase in difficulty concentrating at work or at home?

              Yes _____ No _____ Unsure _____

       (c)    An increase in trouble sleeping?

              Yes _____ No _____ Unsure _____

       (d)    An increase in concern about your personal safety?

              Yes _____ No _____ Unsure _____

       (e)    An increase in concern about your family or friend’s personal safety?

              Yes _____ No _____ Unsure _____

       (f)    Any fear about Muslims, Arabs or persons of Middle Eastern background living
              in your community?

              Yes _____ No _____ Unsure _____

192.   Have you watched or listened to any documentaries, television specials or interviews or
       other programs concerning the family members, friends or co-workers of the victims of
       the September 11 hijackings?        Yes _____ No _____

       Please describe: ________________________________________________________
       ______________________________________________________________________

193.   Have you watched or listened to any documentaries, television specials or interviews or
       any other programs concerning the people who assisted in rescue efforts or aided victims
       in New York, Northern Virginia and Pennsylvania?         Yes _____ No _____

       Please describe: ________________________________________________________
       ______________________________________________________________________




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194.   Have you watched or listened to any documentaries, television specials or interviews or
       other programs concerning people who have participated in relief efforts in
       Afghanistan?         Yes _____ No _____

       Please describe: ________________________________________________________
       ______________________________________________________________________

195.   Have you watched or listened to any documentaries, television specials or interviews or
       any other programs concerning Usama Bin Laden, the al Qaeda network, terrorism,
       Afghanistan, Islam, fundamentalism, the Israeli-Arab conflict or other related topics?

       Yes _____ No _____

       Please describe: ________________________________________________________
       ______________________________________________________________________

196.   Have you watched or listened to any documentaries, television specials or any other
       programs about the nineteen men publicly identified as the September 11th hijackers, or
       seen heard any interviews or programs with family members, friends or others who
       knew these nineteen men? Yes _____ No _____

       Please describe: ________________________________________________________
       ______________________________________________________________________


Contact, Knowledge and Experience with Terrorism (other than September 11, 2001)

197.   Have you seen any movies or read any books depicting or describing U.S. military
       efforts to combat terrorism? Yes _____ No _____

       Please describe: ________________________________________________________
       ______________________________________________________________________

198.   Do you have any specialized knowledge of, or expertise in, issues related to terrorism,
       religious fundamentalism, the Middle East, Afghanistan, or al Qaeda?

       Yes ______ No ______

       Please describe: ________________________________________________________
       ______________________________________________________________________




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199.   Have you read any books on Usama Bin Laden, the al Qaeda network, terrorism,
       Afghanistan, Islam, fundamentalism, the Israeli-Arab conflict or other related topics?

       Yes _____ No _____

       Please describe: _______________________________________________________
       ______________________________________________________________________

200.   Do you, or did you have family members or close friends, who were the victims of
       terrorism in this country or abroad (other than the acts of September 11, 2001)?

       Yes _____ No ______

       If yes, please explain. : ___________________________________________________
       ______________________________________________________________________

201.   Do you or any family member or close personal friend know anyone who has been a
       victim of a “suicide bombing”?  Yes _____ No ______

       Please describe: ________________________________________________________
       ______________________________________________________________________

202.   How closely did you follow the media coverage of the bombing of the Marine Barracks
       in Beirut?

       Very closely         _____
       Somewhat closely     _____
       Not too closely      _____
       Not at all           _____

203.   How closely did you follow the media coverage of the first Gulf War?

       Very closely         _____
       Somewhat closely     _____
       Not too closely      _____
       Not at all           _____

204.   How closely did you follow the media coverage of the bombing of Pan Am Flight 107
       over Lockerbie, Scotland?

       Very closely         _____
       Somewhat closely     _____
       Not too closely      _____
       Not at all           _____




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205.   How closely did you follow the media coverage of the events involving the bombing of
       U.S. embassies in Kenya and Tanzania?

       Very closely         _____
       Somewhat closely     _____
       Not too closely      _____
       Not at all           _____


206.   How closely did you follow the Embassy Bombing trial in New York, concerning the
       attacks on the U.S. embassies in Kenya and Tanzania?

       Very closely         _____
       Somewhat closely     _____
       Not too closely      _____
       Not at all           _____

207.   How closely did you follow the media coverage of the 1993 bombing of the World
       Trade Center Towers?

       Very closely         _____
       Somewhat closely     _____
       Not too closely      _____
       Not at all           _____

208.   How closely did you follow the media coverage of the Khobar Towers bombing in
       Saudi Arabia?

       Very closely         _____
       Somewhat closely     _____
       Not too closely      _____
       Not at all           _____


209.   How closely did you follow the media coverage of the attack on the U.S.S. Cole in
       Yemen?

       Very closely         _____
       Somewhat closely     _____
       Not too closely      _____
       Not at all           _____




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210.   How closely did you follow the media coverage of the 2005 bomb attack on the London
       subways?

       Very closely          _____
       Somewhat closely      _____
       Not too closely       _____
       Not at all            _____

211.   How closely have you followed the media coverage of U.S. military activity in
       Afghanistan and the U.S. war on terrorism in Iraq and elsewhere?

       Very closely          _____
       Somewhat closely      _____
       Not too closely       _____
       Not at all            _____

212.   How closely have you followed the media coverage of the Israeli-Palestinian conflict?

       Very closely          _____
       Somewhat closely      _____
       Not too closely       _____
       Not at all            _____

213.   How closely did you follow the media coverage of Richard Reid, the man convicted of
       trying to light a shoe bomb on American Airlines flight 63 from Paris to the U.S. on
       December 22, 2001?

       Very closely          _____
       Somewhat closely      _____
       Not too closely       _____
       Not at all            _____

214.   How closely did you follow the media coverage of the case of John Walker Lindh, the
       so called “American Taliban”?

       Very closely          _____
       Somewhat closely      _____
       Not too closely       _____
       Not at all            _____




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215.   Do you know anyone associated with the trial of John Walker Lindh including any
       attorney, investigator, witness, law enforcement official, court employee?

       Yes _____ No _____

       Please describe: ______________________________________________________
       ____________________________________________________________________

216.   Do you know anyone who was a defendant, witness, lawyer, investigator or otherwise
       involved or associated in any way with a criminal case in Northern Virginia described
       as “the Virginia Jihad” case or the “Virginia paint ball” case?

       Yes _____ No ______

       Please describe: ______________________________________________________
       ____________________________________________________________________

217.   How closely did you follow the media coverage of the trial of Dr. Ali Al-Timimi, an
       Islamic scholar and lecturer at Dar al Arqam Islamic Center, also known as the Center
       for Islamic Education and Information located in Falls Church, Virginia, on terrorism
       related charges in this Court in the Spring of 2005?

       Very closely          _____
       Somewhat closely      _____
       Not too closely       _____
       Not at all            _____

218.   Do you know anyone associated with the trial of Dr. Ali Al-Timimi including any
       attorney, investigator, witness, law enforcement official, court employee or any
       prospective or actual juror in that case? Yes _____ No ______

       Please describe: ______________________________________________________
       ____________________________________________________________________

219.   How closely did you follow the media coverage of the trial of Ahmed Ali Abu, the
       college student from Falls Church, Virginia, on terrorism related charges in this Court in
       the Fall of 2005?

       Very closely          _____
       Somewhat closely      _____
       Not too closely       _____
       Not at all            _____




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220.   Do you know anyone associated with the trial of Ahmed Ali Abu including any
       attorney, investigator, witness, law enforcement official, court employee or any
       prospective or actual juror in that case? Yes _____ No _____

       Please describe: ______________________________________________________
       ____________________________________________________________________

221.   Do you think the government is too aggressive in its efforts to fight terrorism?

       Yes _____ No _____

       Please explain: ______________________________________________________
       ____________________________________________________________________

222.   How closely have you followed the media coverage of the current war in Iraq?

       Very closely           _____
       Somewhat closely       _____
       Not too closely        _____
       Not at all             _____

223.   Do you know anyone directly associated with the war in Iraq in a capacity other than
       military service (i.e., private contractors, family or friends living in the region, or anyone
       who has traveled to Iraq in the last three years for business or pleasure)?

       Yes _____ No _____

       Please explain: ______________________________________________________
       ____________________________________________________________________


224.   How closely have you followed the investigation into mistreatment or torture of inmates
       at Abu Ghraib (one of the prisons in Iraq)?

       Very closely           _____
       Somewhat closely       _____
       Not too closely        _____
       Not at all             _____




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225.   How closely have you followed media accounts that U.S. personnel have subjected
       members of al Qaeda to coercive interrogation techniques, including possibly torture, to
       obtain information as part of the war on terror?

       Very closely ___
       Somewhat closely ___
       Not too closely ___
       Not at all ___

       Describe your understanding of those allegations: ______________________________
       ______________________________________________________________________
       ______________________________________________________________________

226.   Do you believe that it is acceptable for U.S. personnel to use coercive interrogation
       techniques, including torture, to obtain information from detainees as part of the war on
       terror?        Yes _____ No _____

       Please explain. _________________________________________________________
       ______________________________________________________________________
       ______________________________________________________________________

227.   Do you believe that coercive interrogation techniques are more likely than non-coercive
       techniques to produce truthful answers during an interrogation?

       Yes ______ No ______ No Opinion ______




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Contact, Knowledge and Awareness and Opinion of the Case

This case is a prosecution for alleged conspiracies and other crimes associated with terrorism.
The defendants were charged in late July, 2009, and there has been media attention to the case
since that time. The defendants in this case are:

       Daniel Patrick Boyd           Ziyad Yaghi           Mohammad Omar Aly Hassan
       Dylan Boyd                    Hysen Sherifi
       Zakariya Boyd                 Anes Subasic

The defendants were residents of Wake and Johnston Counties, North Carolina, at the time of
their arrests. Media stories of the case nicknamed the case the “Tarheel Terrorists” or “Triangle
Terrorists”. Some defendants have entered guilty pleas in their    individual cases, and are not
going to be defendants at trial.

228.   Do you know, or have you had any contact whatsoever, with any of these persons, who,
       prior to their arrests, lived in Raleigh and Willow Springs, North Carolina?

       Yes _____ No _____

       If yes, please explain. ____________________________________________________
       ______________________________________________________________________

229.   How much have you heard about this case?

       A lot about the case _____
       Some _____
       Very little about the case _____
       Nothing at all _____

230.   How closely have you followed the news about this case?

       Very closely _____
       Somewhat closely _____
       Not very closely _____
       Not at all _____




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231.   (a)    Please indicate from what source(s) you heard about the case. (Check as many as
              apply):

              [ ] Television [ ] Newspapers [ ] Radio
              [ ] Personal knowledge of accused, or his family, friends or acquaintances
              [ ] Personal knowledge of a victim, or his or her family, friends or acquaintances
              [ ] Personal conversations with others in the community
              [ ] Overheard others discussing case
              [ ] Other sources of information (list): [ ] Other sources of information (list):

       (b)   Please describe as completely as possible what you have heard about this case.
       ______________________________________________________________________
       ______________________________________________________________________
       ______________________________________________________________________
       ______________________________________________________________________
       ______________________________________________________________________

       (c)   What are your thoughts, impressions and opinions, if any, about this case?
       ______________________________________________________________________
       ______________________________________________________________________
       ______________________________________________________________________
       ______________________________________________________________________
       ______________________________________________________________________

       (d)   What are your thoughts and opinions, if any, about any of the named defendants?
       ______________________________________________________________________
       ______________________________________________________________________
       ______________________________________________________________________
       ______________________________________________________________________
       ______________________________________________________________________




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232.   Have you read or heard about any specific statements attributed to any of the defendants?

       Yes _____ No _____ Unsure _____

       Please describe: ________________________________________________________
       ______________________________________________________________________
       ______________________________________________________________________
       ______________________________________________________________________

233.   If you are seated as a juror in this case, the Court will instruct you that you are to conduct
       no research, read or watch no media stories about the case, and never attempt to
       determine any fact by using information obtained outside the courtroom. Do you think
       you can follow this instruction, if it is given to you? _____ Yes _____ No

       Please explain: __________________________________________________________
       _______________________________________________________________________
       _______________________________________________________________________
       _______________________________________________________________________




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